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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

      MENG HUANG,                                    Case No: 2:19-CV-1976

                      Plaintiff,                     Hon. Judge James L. Graham
                                                     Mag. Judge Chelsey M. Vascura
                          v.
                                                     JURY TRIAL DEMANDED
    THE OHIO STATE UNIVERSITY and
          GIORGIO RIZZONI,

                    Defendants.


              MOTION FOR LEAVE TO WITHDRAW ALLISON N. GENARD
                          AS COUNSEL FOR PLAINTIFF

        The law firm of Obermayer Rebmann Maxwell & Hippel LLP (“Obermayer”) hereby
moves to withdraw Allison N. Genard, Esquire in this matter and states as follows:
        1. Obermayer currently represents Plaintiff Meng Huang in this matter.
        2. Attorney Genard is no longer employed by Obermayer.
        3. Plaintiff remains represented by other Obermayer attorneys whose appearance is
            entered in this matter.
        4. Obermayer respectfully requests that this Court grant leave to withdraw Allison N.
            Genard from representation of Plaintiff in this matter.
        WHEREFORE, Obermayer respectfully requests that this Court grant leave for Allison
N. Genard, Esquire, to withdraw as Counsel for Plaintiff in this matter.

Dated: July 28, 2021                    s/_Bruce C. Fox
                                        Bruce C. Fox, Esq. (Pa. ID No. 42576)
                                        OBERMAYER REBMANN MAXWELL & HIPPEL
                                        LLP
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                                        Pittsburgh, PA 15219
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                                        bruce.fox@obermayer.com
                                        Counsel for Plaintiff Meng Huang



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                                 CERTIFICATE OF SERVICE

        The undersigned counsel certifies that all counsel of record are being served with a true
and correct copy of this document via the Courts CM/ECF system, pursuant to the Federal Rules
of Civil Procedure.



                                              s/ Bruce C. Fox
                                              Bruce C. Fox




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